                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                              (MILWAUKEE DIVISION)


SCOTT STEELE,

                              Plaintiff,

v.                                                         Case No. 19-cv-1879

SCRIPPS MEDIA, INC.,

                              Defendant.


                                   NOTICE OF DISMISSAL


              Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Scott Steele,

by and through his undersigned attorneys, hereby dismisses all claims against Defendant Scripps

Media, Inc. with prejudice.



       Dated: May 19, 2020.                        Respectfully submitted,


                                                   /s/ Stephen E. Kravit
                                                   Stephen E. Kravit
                                                   WI State Bar No. 1016306
                                                   Aaron H. Aizenberg
                                                   WI State Bar No. 1066340
                                                   Benjamin R. Prinsen
                                                   WI State Bar No. 1074311
                                                   Stuart J. Check
                                                   WI State Bar No. 1096287
                                                   Attorneys for Scott Steele

                                                   Kravit, Hovel & Krawczyk s.c.
                                                   825 North Jefferson - Fifth Floor
                                                   Milwaukee, WI 53202
                                                   (414) 271-7100 - Telephone
                                                   (414) 271-8135 - Facsimile




          Case 2:19-cv-01879-LA Filed 05/19/20 Page 1 of 2 Document 22
                                 kravit@kravitlaw.com
                                 aha@kravitlaw.com
                                 brp@kravitlaw.com
                                 sjc@kravitlaw.com




                             2

Case 2:19-cv-01879-LA Filed 05/19/20 Page 2 of 2 Document 22
